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 1   QUIN DENVIR, Bar #49374
     Federal Defender
 2   MARK J. REICHEL, Bar #155034
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JESUS VAZQUEZ
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 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,          )
11                                      ) NO. CR.S-04-280-FCD
                       Plaintiff,       )
12                                      )
          v.                            )
13                                      )       STIPULATION AND ORDER;
                                        )          EXCLUSION OF TIME
14                                      )
     JESUS VAZQUEZ, et al.,             )
15                                      ) Date: September 12, 2005
                    Defendant.            Time: 9:30 a.m.
16   _____________________________        Judge: Hon. Frank C. Damrell

17        IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, WILLIAM WONG, Assistant United States

19   Attorney, attorney for Plaintiff, MARK J. REICHEL, Assistant Federal

20   Defender, SHARI    RUSK, ESQ, MICHAEL E. HANSEN, ESQ., attorneys for all

21   Defendants, that the status conference hearing date of August 29, 2005

22   shall be vacated and a status conference scheduled for September 12,

23   2005 at 9:30 a.m.

24        This continuance is requested as all defense counsel need

25   additional time to review discovery with the defendant, to examine

26   possible defenses and to continue investigating the facts of the case.

27        Accordingly, all counsel and the defendant agree that time under

28   the Speedy Trial Act from the date this stipulation is lodged, through
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 1   September 12, 2005, should be excluded in computing the time within
 2   which trial must commence under the Speedy Trial Act, pursuant to Title
 3   18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 4   DATED:    August 29, 2005.                      Respectfully submitted,
 5                                                   QUIN DENVIR
                                                     Federal Public Defender
 6
 7
     DATED:    August 29, 2005.                      /s/ MARK J. REICHEL for
 8                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
 9                                                   Attorney for Jesus Vazquez
10
11                                                   /s/ MARK J. REICHEL for
                                                     SHARI RUSK
12                                                   Attorney for Defendant
                                                     Marco Antonio Vargas
13
14
                                                     /s/ MARK J. REICHEL for
15                                                   MICHAEL HANSEN
                                                     Attorney for Defendant
16                                                   Juan David Hernandez
17
18
                                                     McGREGOR SCOTT
19                                                   United States Attorney
20
21   DATED:    August 29, 2005.                      /s/ MARK J. REICHEL for
                                                     WILLIAM WONG
22                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
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 1                                    O R D E R
 2       The status conference hearing date of August 29, 2005 shall be
 3   vacated and a status conference scheduled for September 12, 2005 at
 4   9:30 a.m.   Time is excluded in the interests of justice pursuant to
 5   18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 6
     IT IS SO ORDERED.
 7
     DATED: August 29, 2005                       /s/ Frank C. Damrell Jr.
 8                                                FRANK C. DAMRELL JR.
                                                  United States District Judge
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